                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL            :         CIVIL ACTION NO. 1:19-CV-622
FOUNDATION,                          :
                                     :         (Chief Judge Conner)
                   Plaintiff         :
                                     :
            v.                       :
                                     :
KATHY BOOCKVAR, Acting Secretary :
of the Commonwealth of Pennsylvania, :
JONATHAN M. MARKS, Deputy            :
Secretary for Elections and          :
Commissions, and the BUREAU OF       :
COMMISSIONS, ELECTIONS               :
AND LEGISLATION,                     :
                                     :
                   Defendants        :

                                       ORDER

      AND NOW, this 8th day of October, 2019, upon consideration of the motion

(Doc. 17) for an initial case management conference by the Public Interest Legal

Foundation, and the court finding that it is in the interest of judicial economy to

stay the case management conference and issuance of a case management order

while a potentially case-dispositive motion is pending, it is hereby ORDERED that

the case management conference and issuance of a case management order are

DEFERRED pending disposition of defendants’ motion (Doc. 12) to dismiss.



                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner, Chief Judge
                                        United States District Court
                                        Middle District of Pennsylvania
